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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                        Civil Action No. 2:17-CV-01574

               Plaintiff,
                                                 Judge Mark R. Hornak
       V.

CARNEGIE MELLON UNIVERSITY,

               Defendant.


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                            NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff John Doe, by his counsel LEECH TISHMAN FUSCALDO & LAMPL, LLC, hereby

voluntarily dismisses this action, without prejudice, pursuant to Federal Rule of Civil

Procedure4 l (a)(l )(A)(i). Defendant Carnegie Mellon University has not filed an answer, a

motion for summary judgment, or other responsive pleading to Plaintiffs Complaint. Pursuant to

Federal Rule of Civil Procedure 41 (a)(l )(B), the dismissal of this action is without prejudice.




Dated: May 25, 2018                            Respectfully submitted,

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